
664 S.E.2d 562 (2008)
Stephen P. WALLACE
v.
FT. MYERS LIMITED PARTNERSHIP; William Maddox, individually and as Trustee of the William Maddox Trust; James Lorenz; Sapphire-Toxaway Resort Properties; Daniel Hitchcock and Charles Waugh.
No. 257P08.
Supreme Court of North Carolina.
June 11, 2008.
Stephen P. Wallace, Pro Se.
Coward Law Firm, Washington, DC, for Ft. Myers Partnership, et al.

ORDER
Upon consideration of the petition for Writ of Prohibition filed by Plaintiff on the 6th day of June 2008 in this matter, the following order was entered and is:
"Dismissed by order of the Court in conference, this the 11th day of June 2008."
